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AO 91 (Rev 1/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Western District of Texas

coon 9.165 nt Sr0-OFt (NLA)

United States of America
v.

Daniel Feliciano AYALA-MURILLO
Elvin Sebastian IBAREZ
Andy Daniel MADRIGAL MONTENEGRO
Andred Garcia PULIDO

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 25,2025 in the county of El Paso in the

Western District of Texas , the defendant(s) violated:

Code Section Offense Description

Title 18, United States Code, Straw Purchasing of firearms
Section 932(b)

Title 18, United States Code, Conspiracy to commit Straw Purchasing
Section 933(a)(3)

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

f Complainant's AE

Kelvyn Valdovinos, ATF Special Agent

Printed name and title

Oath Telephonically Sworn
At | {| PM
ef R Crim. P4.4(b)(2)(A)

ec
Sworn to before me an Signed in my presen Lf eo

City and state: El Paso, TX ____ Robert F. Castaneda, U.S. Magistrate Judge
Printed name and title

Date: |

Judge 's signature
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A. PPOR C COMP)

Your affiant, Kelvyn Valdovinos, first being duly sworn, does hereby depose and state as follows:

4.

Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and has been so employed since May 6, 2024. Your affiant has
received specialized training regarding the investigation and enforcement of Federal
Firearms violations and has conducted investigations regarding individuals involved in
illegal firearms activities. Prior to your affiant’s employment as an ATF Special Agent,
your affiant was a Border Patro] Agent with Customs and Border Protection for almost
four years, one of the years consisted of being a member of the El Centro Border Patrol
Sector Intelligence Unit, investigating various Federal and California state violent
crimes, along with extensive surveillance training. Your affiant has law enforcement
training and experience in firearm trafficking, drug trafficking, methods of drug
consumption, and methods of communications and slang used while trafficking drugs
and firearms. Your affiant makes this statement based on his own investigation, records
review, interviews with the suspect, and information provided by other law
enforcement officers to your affiant. Because this affidavit is submitted for the limited
purpose of securing an arrest warrant, it does not purport to contain everything known
to your affiant about this investigation.

Title 18, United States Code, Section 932(b) states it shall be unlawful for any person
to knowingly purchase, or conspire to purchase, any firearm in or otherwise affecting
interstate or foreign commerce for, on behalf of, or at the request or demand of any
other person.

Title 18, United States Code, Section 933(a)(3) states it shall be unlawful for any person
to attempt or conspire to commit the conduct described in paragraph (1) or (2). (1) ship,
transport, transfer, cause to be transported, or otherwise dispose of any firearm to
another person in or otherwise affecting interstate or foreign commerce, if such person
knows or has reasonable cause to believe that the use, carrying, or possession of a
firearm by the recipient would constitute a felony. (2) receive from another person any
firearm in or otherwise affecting interstate or foreign commerce, if the recipient knows
or has reasonable cause to believe that such receipt would constitute a felony.

A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
frame or receiver of any such weapon. Any firearm muffler or firearm silencer or any
destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.
10.

Lt.

On January 25, 2025, your affiant, while working undercover at an El Paso Gun Show
in the city and county of El Paso, located within the Western District of Texas, observed
Daniel Feliciano AYALA-MURILLO walk into the gun show accompanied by other
defendants. He directed these defendants to purchase a total of approximately 2,000
rounds of assorted ammunition and one rifle, which were ultimately purchased on his
behalf at his request.

ATF agents and local and state law enforcement assigned to outside surveillance of the
gun show witnessed AYALA-MURILLO give several defendants currency outside of
the gun show, after which the defendants entered the show, purchased firearms, and
placed them into another defendant’s vehicle.

During a roadside interview, one defendant admitted to ATF agents that he purchased
2,000 rounds of assorted ammunition for AYALA-MURILLO, and that the
ammunition was intended to be given to the Sinaloa Cartel in Sinaloa, Mexico.

AYALA-MURILLO, a Mexican citizen and B1/B2 visa holder, was subsequently
arrested by ATF agents. During a mirandarized custodial recorded interview, AYALA-
MURILLO admitted to recruiting his two nephews co-defendants to assist him in
purchasing firearms that would be smuggled into Mexico and destined for Mazatlan,
Sinaloa, Mexico. AYALA-MURILLO stated he exchanged approximately $6,000 to
$7,000 USD for the purchase of firearms and ammunition.

During recorded custodial interviews, two co-defendants admitted to being AYALA-
MURILLO’s nephews and acknowledged being recruited by AYALA-MURILLO to
assist in purchasing firearms and ammunition to be smuggled into Mexico. The nephew
co-defendants also stated that AYALA-MURILLO requested their assistance in
locating additional individuals likely to buy firearms for him. An additional defendant
admitted that AYALA-MURILLO was the in charge, specifying in deciding which
guns to buy and provided all the currency for the transactions. Additionally, this
defendant stated that AYALA-MURILLO claimed to work for the Sinaloa Cartel in
Sinaloa, Mexico.

Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce.

In light of the above, your affiant submits that probable cause exists to arrest Daniel
Feliciano AYALA-MURILLO for violations of Title 18, United States Code, Section
932(b) and Title 18, United States Code, Section 933(a)(3).
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AVIT_IN SUPPO J COMPLAI

Your affiant, Kelvyn Valdovinos, first being duly sworn, does hereby depose and state as follows:

Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) and has been so employed since May 6, 2024. Your affiant has
received specialized training regarding the investigation and enforcement of Federal
Firearms violations and has conducted investigations regarding individuals involved
in illegal firearms activities. Prior to your affiant’s employment as an ATF Special
Agent, your affiant was a Border Patrol Agent with Customs and Border Protection
for almost four years, one of the years consisted of being a member of the El Centro
Border Patrol Sector Intelligence Unit, investigating various Federal and California
state violent crimes, along with extensive surveillance training. Your affiant has law
enforcement training and experience in firearm trafficking, drug trafficking, methods
of drug consumption, and methods of communications and slang used while
trafficking drugs and firearms. Your affiant makes this statement based on his own
investigation, records review, interviews with the suspect, and information provided
by other law enforcement officers to your affiant. Because this affidavit is submitted
for the limited purpose of securing an arrest warrant, it does not purport to contain
everything known to your affiant about this investigation.

Title 18, United States Code, Section 932(b) states it shall be unlawful for any person
to knowingly purchase, or conspire to purchase, any firearm in or otherwise affecting
interstate or foreign commerce for, on behalf of, or at the request or demand of any
other person.

Title 18, United States Code, Section 933(a)(3) states it shall be unlawful for any
person to attempt or conspire to commit the conduct described in paragraph (1) or (2).
(1) ship, transport, transfer, cause to be transported, or otherwise dispose of any
firearm to another person in or otherwise affecting interstate or foreign commerce, if
such person knows or has reasonable cause to believe that the use, carrying, or
possession of a firearm by the recipient would constitute a felony. (2) receive from
another person any firearm in or otherwise affecting interstate or foreign commerce,
if the recipient knows or has reasonable cause to believe that such receipt would
constitute a felony.

A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
frame or receiver of any such weapon. Any firearm muffler or firearm silencer or any
destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.
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5. On January 25, 2025, your affiant, while working undercover at an El Paso Gun Show
in the city and county of El Paso, located within the Western District of Texas, observed
Elvin Sebastian IBAREZ walk into the gun show accompanied by other defendants.
IBAREZ directed these defendants to purchase three rifles and two pistols, which were
ultimately purchased at his direction.

6. ATF agents and local and state law enforcement assigned to outside surveillance of the
gun show witnessed IBAREZ place the firearms in the trunk of his vehicle and drive
off.

7. ATF agents subsequently arrested IBAREZ. During a custodial recorded interview
where IBAREZ was given his Miranda warnings he admitted to being recruited by an
individual through social media for the purchase of firearms at the gun show. IBAREZ.
stated that he agreed to act as a middleman and recruited two other individuals to obtain
the firearms for him. IBAREZ admitted to being paid $100.00 for every firearm he
helped acquire and acknowledged knowing the firearms were intended for a Mexican
citizen with a B1/B2 visa. IBAREZ also confessed the firearms were to be smuggled
into Mexico to supply the Sinaloa Cartel.

8. During a Mirandized custodial interview with two other defendants, the defendants
admitted to being recruited by IBAREZ and being offered $100.00 for each firearm
they purchased.

9. Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce.

10. In light of the above, your affiant submits that probable cause exists to arrest Elvin
Sebastian IBAREZ for violations of Title 18, United States Code, Section 932(b) and
Title 18, United States Code, Section 933(a)(3).
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DAVIT RIMINAL T

Your affiant, Kelvyn Valdovinos, first being duly sworn, does hereby depose and state as follows:

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in illegal firearms activities. Prior to your affiant’s employment as an ATF Special
Agent, your affiant was a Border Patrol Agent with Customs and Border Protection
for almost four years, one of the years consisted of being a member of the El Centro
Border Patrol Sector Intelligence Unit, investigating various Federal and California
State violent crimes, along with extensive surveillance training. Your affiant has law
enforcement training and experience in firearm trafficking, drug trafficking, methods
of drug consumption, and methods of communications and slang used while
trafficking drugs and firearms. Your affiant makes this statement based on his own
investigation, records review, interviews with the suspect, and information provided
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transport, transfer, cause to be transported, or otherwise dispose of any firearm to
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knows or has reasonable cause to believe that the use, carrying, or possession of a
firearm by the recipient would constitute a felony. (2) receive from another person any
firearm in or otherwise affecting interstate or foreign commerce, if the recipient knows
or has reasonable cause to believe that such receipt would constitute a felony.

A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
frame or receiver of any such weapon. Any firearm muffler or firearm silencer or any
destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.
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10.

On January 25, 2025, your affiant, while working undercover at an El Paso Gun Show
in the city and county of El Paso, located within the Western District of Texas, observed
Andy Daniel MADRIGAL MONTENEGRO walk into the gun show accompanied by
three other defendants. MADRIGAL MONTENEGRO attempted to purchase an AR-
15 style rifle at the request of another co-defendant Your affiant witnessed the
defendant take all the necessary actions to purchase the firearm but the Federal Firearm
Licensee did not complete the sale. MADRIGAL MONTENEGRO was continuously
observed by your affiant inside the gun show, guiding one defendant to the firearm he
was previously delayed on and requesting the defendant to purchase the firearm, which
the defendant complied with, proceeding to straw purchase for MADRIGAL
MONTENEGRO.

ATF agents and local and state law enforcement assigned to the outside surveillance of
the gun show witnessed MADRIGAL MONTENEGRO give money to co-defendant
Juan LOPEZ, after the failed transaction. MADRIGAL MONTENEGRO was also
observed outside with other straw purchasers, giving money to co-defendant Brandon
GARCIA in the parking lot whom proceeded to go inside the Gun Show purchase an
AR-IS style rifle.

ATF agents subsequently arrested MADRIGAL MONTENEGRO. During a recorded
custodial interview, MADRIGAL MONTENEGRO was provided his Miranda warning
and admitted to attempting to purchase a firearm for his uncle (co-defendant), who is a
Mexican citizen with a B1/B2 visa. MADRIGAL MONTENEGRO acknowledged the
firearm was intended to be smuggled into Ciudad Juarez, Chihuahua, Mexico.

During a mirandarized custodial interview with another defendant, that defendant
admitted to receiving $1,400 USD from MADRIGAL MONTENEGRO and stated
MADRIGAL MONTENEGRO accompanied him inside the gun show and instructed
him to purchase two rifles, which the defendant then purchased.

Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce. :

In light of the above, your affiant submits that probable cause exists to arrest Andy
Daniel MADRIGAL MONTENEGRO for violations of Title 18, United States Code,
Section 932(b) and Title 18, United States Code, Section 933(a)(3).
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1. Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
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for almost four years, one of the years consisted of being a member of the El Centro
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(1) ship, transport, transfer, cause to be transported, or otherwise dispose of any
firearm to another person in or otherwise affecting interstate or foreign commerce, if
such person knows or has reasonable cause to believe that the use, carrying, or
possession of a firearm by the recipient would constitute a felony. (2) receive from
another person any firearm in or otherwise affecting interstate or foreign commerce,
if the recipient knows or has reasonable cause to believe that such receipt would
constitute a felony.

4, A Firearm means any weapon “including a starter gun” which will, or is designed to,
or may be readily converter to expel a projectile by the action of an explosive. The
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destructive device. Ammunition includes ammunition, cartridge cases, primers, bullets,
or propellant powder designed for use in any firearm.

On January 25, 2025, your affiant, while working undercover at an El Paso Gun Show
in the city and county of El Paso, located within the Western District of Texas, observed
Andred Garcia PULIDO walk into the gun show accompanied by other defendants. He
was observed receiving money from one of the defendants. Your affiant then witnessed
PULIDO being guided around the gun show by the defendant, who handed him the
cash, leading him to the ammunition section, where approximately 2,000 rounds of
assorted ammunition were purchased by PULIDO.

ATF agents and local and state law enforcement assigned to outside surveillance of the
gun show witnessed PULIDO place the ammunition inside his vehicle and drive off.
He was subsequently pulled over by law enforcement for a Texas safety belt violation,
during which PULIDO admitted to purchasing the ammunition for another individual
and stated the ammunition was going to be sent to Mazatlan, Sinaloa, Mexico.

ATF agents arrested PULIDO. During a custodial recorded interview PULIDO was
given his Miranda warnings and admitted to purchasing the ammunition for his uncle
(co-defendant), who is a Mexican citizen with a B1/B2 visa. PULIDO acknowledged
being recruited by his uncle to attend the gun show to purchase firearms and
ammunition, and he also admitted his uncle had recruited another cousin of his (co-
defendant). PULIDO stated the firearms purchased by the other defendants and the
ammunition he bought were intended to be given to the Sinaloa Cartel in Sinaloa,
Mexico.

Your affiant has consulted with an ATF Interstate Nexus Expert who has advised
your affiant that all firearms involved in this case have traveled in or affected
interstate and/or foreign commerce.

In light of the above, your affiant submits that probable cause exists to arrest Andred
Garcia PULIDO for violations of Title 18, United States Code, Section 932(b) and Title
18, United States Code, Section 933(a)(3).

